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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF COLORADO

 In re: BOJAN CICIC                                            CASE NO. 17-18725 EEB
        KARLA CICIC
                                                               CHAPTER 7
 Debtors.
 __________________________________________


 STONEBRIDGE INVESTMENTS, L.L.C.
 f/k/a Stonebridge Leasing, LLC

 Plaintiff,                                                    Adv. Proc. No. 17-1597 EEB

 v.

 BOJAN CICIC

 Defendant.

 UNOPPOSED MOTION TO APPROVE SETTLEMENT AGREEMENT AND DISMISS
                    ADVERSARY PROCEEDING

       BOJAN CICIC, Defendant, by and though counsel STAGGS MORRIS, P.C., states as
follows:

        1.     The undersigned has contacted counsel for the Plaintiff, who has no objection to
 the instant Motion.

       2.      The parties have reached an agreement for a full resolution of all matters at issue
 before the court.

       3.     In support of this agreement, the parties have fully executed a comprehensive
 Settlement Agreement specifying the terms of the settlement.

        4.     A true and correct copy of the Settlement Agreement is attached to this Motion.

        5.     Notwithstanding dismissal of this action, the court shall retain jurisdiction to reopen
 this case and enter judgment in the event of a settlement default as specified in the Settlement
 Agreement.

        WHEREFORE, the parties request that the court dismiss this action with prejudice,
reserving jurisdiction to reopen for default, each party to pay his or its own fees and costs.
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      Dated: March 28, 2018

                                            STAGGS MORRIS, P.C.


                                            /s/ William A. Morris
                                            William A. Morris, #21452
                                            1800 Glenarm Place, Suite 1650
                                            Denver, Colorado 80202
                                            Tel: 303.750.9900
                                            Email: WAMorris@StaggsMorris.com


                              CERTIFICATE OF MAILING

I HEREBY CERTIFY that on the date indicated below, I mailed a true and correct copy of the
foregoing pleading via the US Mail, postage prepaid, to:


            Robert G Busch
            P.O. Box 3931
            Greenwood Village, CO 80155




      Date: March 29, 2018                      /s/ William A. Morris
